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UNITED STATES DISTRICT COURT
SOOUTHERN DISTRICT OF NEW YORK

CLAUDIA ADAMS,
                                                        Case No: 21-cv-06157-VSB
                        Plaintiff,

               v.

BY DESIGN, LLC, JAY LEE, AND RUSSELL
KEMP,


                     Defendants.



Hon. Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States
Courthouse, 40 Foley Square, New
York, NY


Honorable Judge Broderick,

        Our law firm represents Plaintiff Claudia Adams in the above matter. We write to inquire
as to the status of the January 27, 2022 joint letter requesting to dismiss this matter with
prejudice (document number 11). Notably, the parties have reached a settlement through a
mediation and on January 27, 2022, pursuant to Cheeks v. Freeport Pancake House, Inc.,
provided a copy of the fully executed agreement along with a request that the Court approve the
settlement and dismiss this matter with prejudice.

        As the request has not been ruled on presently, we respectfully write to see if there were
any issues with the joint letter and/or if the Court requires any further actions by the parties to
approve the settlement agreement and dismiss the matter. If the Court does not require any
additional actions by the parties, we respectfully renew our request that the settlement agreement
be approved, and the matter be dismissed with prejudice.


Dated: April 29, 2022
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                                          Respectfully Submitted,

                                          CLAUDIA ADAMS

                                          By her attorneys,

                                          THE LAW OFFICES OF WYATT &
                                          ASSOCIATES P.L.L.C


Date: April 29, 2022                By: __/s/Timothy Brock_____________

                                          Timothy Brock, NY BAR #694578
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